                                                                                     Motion GRANTED.
                              UNITED STATES DISTRICT COURT

                        FOR THE MIDDLE DISTRICT OF TENNESSEE

                                     NASHVILLE DIVISION


UNITED STATES OF AMERICA                       )
                                               )
               v.                              )       NO. 3:10-00163
                                               )       Judge Trauger
[2] RICKY WILLIAMS                             )
a/k/a "Big Rick"                               )
                                               )
[9] JOEDON BRADLEY                             )
a/k/a "Jo Jo"                                  )
                                               )
[12] ALONZO McLAURINE                          )
a/k/a "Zo"                                     )
                                               )
[14] JERMAINE TATE                             )
a/k/a "Maine Maine"                            )
                                               )
[16] ALEXANDER McDONALD                        )
a/k/a "Dominique"                              )
                                               )
[17] JERMAINE COWWARD                          )
a/k/a "Maine Maine"                            )
                                               )
[19] TOREY COHEN BOSEMAN                       )
a/k/a "Torey"                                  )
                                               )
[21] ANTHONY CAMPBELL                          )
a/k/a "Dante"                                  )



         UNITED STATES MOTION TO UNSEAL PLEA AGREEMENT AND PLEA
                           HEARING TRANSCRIPT


       COMES NOW, the United States of America, by and through the undersigned, and

respectfully requests the court unseal the plea agreement and the plea hearing transcript of the above

named defendants for use at trial.




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